       Case 6:03-cr-06033-DGL         Document 182        Filed 06/30/05      Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                   DECISION AND ORDER

                                                                   03-CR-6033L

                      v.

TOMMY HARDY,



                              Defendant.
________________________________________________


       Defendant, Tommy Hardy (“Hardy”), is represented by appointed counsel who timely filed

motions relating to the pending indictment, including a motion to suppress statements. These

motions were heard by Magistrate Judge Marian W. Payson and rejected by her and,on appeal, by

this Court.

       After the time had expired for filing motions, Hardy filed a pro se motion to suppress

evidence obtained from a search of 541 Lyell Avenue, Rochester, New York in September 2002.

The motion was filed pro se by Hardy but was signed “David R. Morabito, Esq., signed on behalf

of Tommy Hardy Pro Se .”

       The Government responded to the pro se motion.

       I agree with the Government that Hardy has not demonstrated that he has standing to contest

the search of the premises at 541 Lyell Avenue. There is no affidavit or other evidence indicating
       Case 6:03-cr-06033-DGL           Document 182         Filed 06/30/05      Page 2 of 2




Hardy’s status at the premises as other than a guest. As such, he has no expectation of privacy in the

premises and, therefore, no right to move to suppress, alleging a violation of the Fourth Amendment.

       Therefore, defendant Tommy Hardy’s pro se motion to suppress is denied.

       IT IS SO ORDERED.



                                       _______________________________________
                                                DAVID G. LARIMER
                                              United States District Judge


Dated: Rochester, New York
       June 30, 2005.




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